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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 AARON WALTON,                                     )
 on behalf of Plaintiff and the class members      )
 described below,                                  )
                                                   )
                Plaintiff,                         )   Case No.: 1:23-cv-00520-SEB-TAB
                                                   )
        vs.                                        )   Judge Sarah Evans Barker
                                                   )   Magistrate Judge Tim A. Baker
 UPROVA CREDIT LLC;                                )
 UPROVA HOLDINGS LLC;                              )
 UPPER LAKE PROCESSING SERVICES, INC.;             )
 POMO ONE MARKETING INC.;                          )
 HABEMCO LLC;                                      )
 GENEL ILYASOVA;                                   )
 MICHAEL SCOTT HAMMER;                             )
 DENISE DEHAEMERS;                                 )
 SARAH MARIE HIMMLER;                              )
 DAVID STOVER;                                     )
 and JOHN DOES 1-20,                               )
                                                   )
                Defendants.                        )

              PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
                        MOTION TO COMPEL ARBITRATION




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 I.      INTRODUCTION

         This case concerns a series of predatory and unlawful loans made to Aaron Walton

 (“Plaintiff”), an Indianapolis resident, via the website www.uprova.com. Mr. Walton is one of

 thousands of Indiana residents to whom Defendants Uprova Credit, LLC, Uprova Holdings, LLC,

 Upper Lake Processing Services, Inc., Pomo One Marketing Inc., Habemco LLC, Genel Ilyasova,

 Michael Scott Hammer, Denise Dehaemers, Sarah Marie Himmler, and David Stover

 (“Defendants”) have made similar loans. All of the loans at issue are usurious under Indiana law.

         The illegal loans—with interest rates often exceeding 600%—are made in the name of

 Uprova Credit, LLC which purports to be shielded from state and federal laws prohibiting usury due

 to tribal sovereign immunity. However, the purported “tribal” lending entity is a facade for the

 illegal lending scheme; all substantive aspects of the payday lending operation—funding, marketing,

 loan origination, underwriting, loan servicing, electronic funds transfers, and collections—are

 performed by individuals and entities that are unaffiliated with the tribe. Over the last decade,

 “[c]ourts across the country have confronted” these “transparent attempts to deploy tribal sovereign

 immunity to skirt state and federal consumer protection laws.” Gingras v. Think Fin., Inc., 922 F.3d

 112, 126 (2d Cir. 2019).

         The arbitration agreement Defendants seek to enforce requires the application of the law of

 an Indian tribe that has no substantive jurisdiction over the matter. A tribe’s substantive jurisdiction

 to enact laws is essentially coterminous with its adjudicative jurisdiction and does not extend to

 dealings between non-Indians off the reservation. Plains Commerce Bank v. Long Family Land & Cattle

 Co., 554 U.S. 316, 329 (2008); Montana v. United States, 450 U.S. 544 (1981); Jackson v. Payday Fin.,

 LLC, 764 F.3d 765, 777-78 (7th Cir. 2014); Otoe-Missouria Tribe of Indians v. New York State Dep’t of

 Fin. Servs., 769 F.3d 105, 115 (2d Cir. 2014). The persons responsible for making the loans—Genel

 Ilyasova, Michael Scott Hammer, Denise Dehaemers, Sarah Marie Himmler, and David Stover—are


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 not Native Americans, much less members of the Habematolel Pomo of Upper Lake Tribe (the

 “Tribe”).

         Against this backdrop, Defendants invoke an arbitration provision that applies tribal law—to

 the express exclusion of all state law—to a transaction where the tribal interest is a fraud. The

 construction is flawed, though, as the effect of preventing a party from exercising or vindicating

 statutory rights and remedies renders unenforceable both the arbitration agreement and delegation

 provision, both of which Plaintiff challenges. An arbitration agreement that expressly disclaims state

 law and prevents the effective vindication of federal statutory rights and remedies is simply

 unenforceable. Defendants’ motion to compel arbitration should be denied.

 II.     SUMMARY OF THE ARGUMENT

         First, the delegation provision is unenforceable—and Plaintiff specifically challenges it—as it

 places the arbitrator in the impossible position of deciding the validity and enforceability of an

 arbitration agreement without a body of contract law to draw upon. Accordingly, this Court must

 determine Plaintiff’s challenge to the provision. Second, the arbitration agreement Defendants seek

 to enforce is unenforceable as matter of law: it provides for the application of tribal law, to the

 exclusion of all state law, resulting in an impermissible prospective waiver of state and federal

 statutory rights and remedies. Third, the arbitration agreement is substantively and procedurally

 unconscionable—among other things, it strips Indiana borrowers of their remedies under Indiana’s

 usury statue and the Racketeer Influenced and Corrupt Organizations Act’s (“RICO”) “unlawful

 debt” provision which is predicated on Defendants’ collection of usurious debts in violation of state

 law. The waiver of state and federal rights and remedies violates Indiana public policy and

 longstanding federal precedent.




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 III.    LEGAL STANDARD
         Courts review motions to compel arbitration under a summary judgment standard. Tinder v.

 Pinkerton Sec., 305 F.3d 728, 735 (7th Cir. 2002). Accordingly, “the evidence of the non-movant is to

 be believed and all justifiable inferences are to be drawn in his favor.” Id.

 IV.     THE DELEGATION PROVISION IS UNENFORCABLE
         It is axiomatic that “[a] federal court has a duty to determine whether a contract violates

 federal law before enforcing it.” Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 83 (1982); see also Dillon v.

 BMO Harris Bank, N.A., 856 F.3d 330, 334 (4th Cir. 2017) (“a court first must examine whether, as a

 matter of law, the ‘choice-of-forum and choice-of-law clauses operate in tandem as a prospective

 waiver of a party’s right to pursue statutory remedies.’”) (quoting Mitsubishi Motors Corp. v. Soler

 Chrystler-Plymouth, Inc., 473 U.S. 614, 637 n.19).

         While parties may delegate gateway questions of arbitrability, a “party may contest the

 enforceability of the delegation clause with the same arguments it employs to contest the

 enforceability of the overall arbitration agreement. Hengle v. Treppa, 19 F.4th 324, 335 (4th Cir. 2021)

 (citing Gibbs v. Sequoia Cap. Operations, LLC, 966 F.3d 286, 291-292 (4th Cir. 2020)); see also

 MacDonald v. CashCall, Inc., 883 F.3d 220, 226-27 (3d Cir. 2018).

         “[I]f a party challenges the validity under [9 U.S.C.] § 2 of the precise agreement to

 arbitrate at issue, the federal court must consider the challenge before ordering compliance with that

 agreement under § 4.” Gingras v. Think Fin., Inc., 922 F.3d 112, 126 (2d Cir. 2019) (quoting Rent-A-

 Ctr., W., Inc. v. Jackson, 561 U.S. 63, 71 (2010)). Plaintiff specifically challenges the enforceability of

 the delegation provision—as well as the arbitration agreement as a whole—because it disclaims state

 contract law and as a prospective waiver of his right to vindicate his federal and state statutory rights

 and remedies. The issue of arbitrability is therefore for this Court to decide.




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         A.      An Arbitration Agreement that Disclaims State Law is Unenforceable.
         The Supreme Court has made clear that an arbitration clause depends on state law for its

 validity and that the only effect of the Federal Arbitration Act (“FAA”) is to prohibit states from

 discriminating against arbitration. Morgan v. Sundance, Inc., 142 S. Ct. 1708, 212 L. Ed. 2d 753 (2022);

 see also Arthur Andersen L.L.P. v. Carlisle, 556 U.S. 624, 631 (2009) (state law is applicable to determine

 which contracts are binding under § 2 and enforceable under § 3 if that law arose to govern issues

 concerning the validity, revocability, and enforceability of contracts generally).

         The validity and enforceability of any arbitration clause must be determined “upon such

 grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. The

 “grounds as exist” to determine contract formation, validity and contract defenses are creatures

 of state law. “When deciding whether the parties agreed to arbitrate a certain matter (including

 arbitrability), courts generally. . . should apply ordinary state-law principles that govern the

 formation of contracts.” First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995).

         Accordingly, state contract law must be applied to determine the enforceability of an

 arbitration clause. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 343 (2011) (effect of FAA Section

 § 2 is to preserve generally applicable state law contract defenses); Morgan, 142 S. Ct. at 1713.

         B.      The Arbitration Agreement Waives State and Federal Statutory Rights and
                 Remedies.
         The arbitration agreement Defendants seek to enforce disclaims federal and state law in

 favor of the law of a tribe which lacks legislative and adjudicative authority to regulate the

 transaction. The loan agreement’s Governing Law provision confirms that tribal law shall apply to a

 dispute:

         11.     GOVERNING LAW: You agree that this Agreement and all aspects of your loan
         and your relationship with us including all claims or causes of action (contract, tort, equity,
         statutory or otherwise) shall be subject to, and governed by and enforced in accordance with
         the laws of the Tribe and applicable U.S. federal law (collectively, the “Governing Law”). By
         agreeing to this governing law provision, you acknowledge and agree that the laws of the

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         Tribe rather than the laws of your state or any other state will apply. Nothing in this
         Loan Agreement shall be interpreted to (i) waive any rights you have under U.S. federal law
         or (ii) prevent you from bringing any individual Claim against us under U.S. federal law,
         subject to the Arbitration Agreement’s prohibition of a jury trial, class actions, class
         arbitration, and injunctive relief in favor of non-parties. (Dkt. 1-1, p. 5) (emphasis added).

 The arbitration provision provides that an arbitrator shall resolve disputes “in accordance with the

 Governing Law.” Id. at 8.

         The arbitration agreement thus expressly disclaims state law. The waiver of state law

 deprives the arbitrator from accessing the body of law necessary to determine arbitrability. The

 Fourth Circuit has affirmed a ruling that a ban on state law in a tribal loan contract rendered both

 the arbitration clause and the delegation clause unenforceable. See Hengle v. Treppa, 19 F.4th 324, 339

 (4th Cir. 2021), cert. dismissed sub nom. Asner v. Hengle, 212 L. Ed. 2d 795, 142 S. Ct. 2093 (2022). In

 Hengle, the loan agreement, as here, expressly disclaimed the application of any state law, but stated

 that the contract was governed by the FAA. The Fourth Circuit held that the ban on state law was

 fatal as it prohibited the application of state law defenses mandated by § 2 of the FAA. Id. at 340.

 Reference to the FAA did not save the clause because the mandate in § 2 requires access to state law

 and the clause prohibited the arbitrator from applying state law. Id.

         Numerous district courts have reached similar conclusions. See, e.g., Gibbs v. Stinson, 421 F.

 Supp. 3d 267, 291 (E.D. Va. 2019) aff’d sub nom. Gibbs v. Sequoia Cap. Operations, LLC, 966 F.3d 286

 (4th Cir. 2020) (“Defendants’ approach would require an arbitrator to determine whether a valid and

 enforceable arbitration agreement exists absent the federal or state law tools necessary to do so.”);

 MacDonald v. CashCall, Inc, 2017 WL 1536427, at *4 (D.N.J. Apr. 28, 2017), aff’d, 883 F.3d 220 (3d

 Cir. 2018) (“[I]f the question of the enforceability of the arbitration clause were sent to an arbitrator,

 he or she would be categorically prohibited from applying any federal or state law to arrive at an

 answer.”); Smith v. W. Sky Fin., LLC, 168 F. Supp. 3d 778, 786 (E.D. Pa. 2016) (“In practical terms,

 enforcing the delegation provision would place an arbitrator in the impossible position of deciding


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 the enforceability of the agreement without authority to apply any applicable federal or state law”)

 (emphasis in original); Ryan v. Delbert Servs. Corp., 5:15 cv 05044, 2016 WL 4702352, at *5 (E.D. Pa.

 Sept. 8, 2016) (“The wholesale waiver of federal and state law thus dooms both the delegation

 provision and the arbitration clause, but for different reasons.”).

         Put differently, “[a] delegation clause that requires an arbitrator to determine whether a valid

 and enforceable arbitration agreement exists” without access to federal or state laws “necessary to

 make that determination,” is “unenforceable as a violation of public policy.” Hengle, 19 F.4th at 339.1

 The delegation provision, like the arbitration clause, is unenforceable.

 V.      THE ARBITRATION PROVISION IS UNENFORCEABLE AS IT
         PROSPECTIVELY WAIVES PLAINTIFF’S STATUTORY RIGHTS AND
         REMEDIES
         The arbitration agreement Defendants seeks to enforce waives all state law, including

 Plaintiff’s statutory rights and remedies under both federal and Indiana law. While the FAA has

 broad reach, “courts will not enforce a prospective waiver” of statutory rights in any contract. Am.

 Express Co. v. Italian Colors Rest., 570 U.S. 228, 241 (2013).

         In Viking River Cruises, Inc. v. Moriana, 142 S. Ct. 1906, 1919 n.5 (2022), the Supreme Court

 rejected the argument that the prospective waiver doctrine is limited to a provision waiving

 substantive rights under federal law. The Supreme Court held that there “is not anything unique

 about federal statutes” for the application of the prospective waiver doctrine. Id. “That is why,” the

 Court added, it had previously considered the application of the doctrine in a case concerning

 “claims arising under state law.” Id. (citing Preston v. Ferrer, 552 U.S. 346, 359 (2008) (enforcing an




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           Defendants do not ask the Court to sever the offending provisions, and for good reason. A
 tribal arbitration contract’s “errant provisions” are not severable as they go to the core of the
 arbitration agreement—the animating purpose is to “ensure that [the Tribal lender] and its allies
 could engage in lending and collection practices free from the strictures of any federal law.” Hayes,
 811 F.3d at 666; see also Dillon, 856 F.3d at 336; Rideout, 2018 WL 1220565, at *7.
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 arbitration agreement because it relinquished “no substantive rights the TAA or other California law

 may accord him”)).

         An arbitration agreement is unenforceable, pursuant to the “prospective waiver” doctrine, if

 it “prospective[ly] waived” a “party’s right to pursue statutory remedies.” Mitsubishi Motors, 473 U.S.

 at 637 n. 19; Am. Express Co., 570 U.S. at 235 (noting that the prospective waiver/ effective

 vindication exception “serves to harmonize competing federal policies” by allowing courts to

 invalidate arbitration agreements that “operate as a waiver of a party’s right to pursue statutory

 remedies.”).

         The Second, Third, and Fourth Circuit Courts of Appeals, as well as the overwhelming

 majority of federal district courts, have refused to enforce “arbitration agreements that limit a party’s

 substantive claims to those under tribal law, and hence forbid federal claims from being

 brought.” Williams v. Medley Opportunity Fund II, LP, 965 F.3d 229, 237 (3d Cir. 2020); see also Hengle v.

 Treppa, 19 F.4th 324, 343 (4th Cir. 2021); Gibbs v. Haynes Invs., LLC, 967 F.3d 332, 339-45 (4th Cir.

 2020) (Agee, Gregory, Motz, JJ. (unanimous)); Gibbs v. Sequoia Capital Operations, LLC, 966 F.3d 286,

 292-94 (4th Cir. 2020) (unanimous); Dillon v. BMO Harris Bank, N.A., 856 F.3d 330 at 333-37 (4th

 Cir. 2017) (Keenan, Duncan, Thacker, JJ. (unanimous)); Hayes v. Delbert Servs. Corp., 811 F.3d 666,

 673-76 (4th Cir. 2016) (Wilkinson, Keenan, Harris, JJ., (unanimous)); Gingras, 922 F.3d at 126-128

 (2d Cir. 2019) (Hall, Leval, Chin, JJ. (unanimous)); Smith v. Western Sky Fin., LLC, 168 F. Supp. 3d

 778 (E.D. Pa. 2016); Hengle v. Asner, 433 F. Supp. 3d 825 (E.D. Va. 2020); Titus v. ZestFinance, Inc., 18

 cv 5373 2018 WL 5084844, at *5 (W.D. Wash. Oct. 18, 2018), vacated on other grounds by Titus v.

 BlueChip Fin., 786 F. App’x 694 (9th Cir. 2019); Ryan v. Delbert Servs. Corp., 5:15 cv 05044, 2016 WL

 4702352, at *4 (E.D. Pa. Sept. 8, 2016); Rideout v. CashCall, Inc., 2:16 cv 02817, 2018 WL 1220565, at

 *6 (D. Nev. Mar. 7, 2018); cf. Swiger v. Rosette, 989 F.3d 501 (6th Cir. 2021) (enforcing delegation

 provision because plaintiff failed to challenge it).


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          Here, Plaintiff cannot vindicate his federal statutory rights and remedies under the Indiana

 IUCCC and RICO as the arbitration agreement Defendants seek to enforce disclaims all state law.

 Plaintiff’s RICO claim (Count II) is brought under the “unlawful debt” provision of 18 U.S.C. §

 1962(c). Plaintiff alleges that:

          All loans made in the name of Uprova Credit LLC to Indiana residents are (a) unenforceable
          under Indiana law in whole or in part as to principal or interest because of the laws relating
          to usury, and (b) were incurred in connection with the business of lending money at a rate
          usurious under Indiana law, where (c) the usurious rate is at least twice the enforceable rate
          (36%)….The loans are therefore “unlawful debts” as defined in 18 U.S.C. § 1961(6). (Dkt. 1,
          P. 11).

 The arbitration provision operates as a prospective waiver of Plaintiff’s federal statutory rights and

 remedies because the agreement disclaims all state law. State law is the sine qua non of a RICO

 “unlawful debt” claim under 18 U.S.C. § 1962(c) as state law is necessary to establish an unlawful

 debt. Plaintiff’s federal statutory rights under the “unlawful debt” provision of RICO are based on

 state law, and cannot be vindicated where, as here, state law is disclaimed. The arbitration provision

 is thus unenforceable as it prevents Plaintiff from vindicating his statutory right and remedies under

 RICO.2

          Plaintiff specifically challenges the enforceability of the delegation provision—as well as the

 arbitration agreement as a whole—as a prospective waiver of his right to vindicate his federal and

 state statutory rights and remedies. The agreement is unenforceable, and Defendants’ motion to

 compel arbitration should be denied.




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           Defendants’ contract disclaims state and federal law, and there is no basis for the
 application of tribal law, so what law authorizes the arbitration provision? This underscores the fact
 that the provision simply strings together legal concepts for the improper purpose of depriving the
 borrower of all rights.
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  VI.     THE ARBITRATION AGREEMENT IS UNENFORCEABLE AS IT IS
          UNCONSCIONABLE AND THE LOAN AGREEMENT IS VOID UNDER
          INDIANA LAW
          Under Indiana law, a contractual provision may be unconscionable on either procedural or

  substantive grounds, or a combination of both. DiMizio v. Romo, 756 N.E.2d 1018, 1023 (Ind. Ct.

  App. 2001).

          A.      The Arbitration Agreement is Substantively Unconscionable.
          The arbitration agreement is substantively unconscionable under Indiana law because it

  disclaims all rights under state law. Additionally, the selection of tribal law to Plaintiff’s claims is

  unenforceable as it undermines fundamental consumer protection laws of Plaintiff’s home state,

  Indiana—the state with the strongest connection to the agreement.

          “[P]arties are free within bounds to use a choice of law clause in an arbitration agreement to

  select which local law will govern the arbitration,” the Fourth Circuit explained in Hayes, “[b]ut a

  party may not underhandedly convert a choice of law clause into a choice of no law clause—it may

  not flatly and categorically renounce the authority of the federal statutes to which it is and must

  remain subject.” Hayes, 811 F.3d at 675.

          Count I of Plaintiff’s complaint seeks damages under the Indiana Uniform Consumer Credit

  Code (“IUCCC”) which establishes a maximum loan finance charge of 36% per annum for

  consumer loans made on the Internet to Indiana consumers. Under the Territorial Application

  Provision, a loan transaction occurs in Indiana “if a consumer who is a resident of Indiana enters

  into a sale, lease, or loan transaction with a creditor in another state and the creditor has advertised

  or solicited sales, leases, or loans in Indiana by any means, including by mail, brochure, telephone,

  print, radio, television, the Internet, or electronic means . . .” Ind. Code Ann. § 24-4.5-1-201(1)(d).

          If a creditor or one acting on behalf of a creditor makes loans in violation of the IUCCC, the

  consumer can recover damages under § 24-4.5-5-202.


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          “The danger that creditors may be able to induce consumers to agree that the applicable law

  will be that of a creditors’ haven that has no effective consumer credit protection has led to

  invalidating choice of law agreements except where the law chosen is that of the state of the

  consumer’s residence. Subsections (8) and (9).” Ind. Code Ann. § 24-4.5-1 (Comment 1). If a non-

  Indiana lender that conducts business over the internet could immunize itself from the IUCCC by

  simply inserting a choice of law clause specifying the law of some jurisdiction that does not protect

  consumers, the IUCCC would be a dead letter.

          The IUCCC clearly states a fundamental public policy of Indiana when it specifies what

  contracts it applies to. A “choice of law” clause that has the effect of making the IUCCC

  inapplicable is both a prohibited waiver or evasion of the IUCCC and invalid as contrary to public

  policy. The IUCCC Territorial Application provision expressly negates the ability of consumers to

  waive its protections. § 24-4.5-1-201(6). “The following agreements by a…debtor are invalid with

  respect to…consumer loans, or modifications thereof, to which this article applies: (a) An agreement

  that the law of another state shall apply. (b) An agreement that the buyer, lessee, or debtor consents

  to the jurisdiction of another state. (c) An agreement that fixes venue. Id.

          Here, Defendants were not authorized to make a loan to Mr. Walton period, let alone at an

  interest rate exceeding 300%. Enforcing such a loan would be contrary to Indiana statue and Indiana

  public policy forbidding the making of usurious loans. “Indiana generally does not enforce contracts

  that are ‘contrary to public policy.’” Walton v. Jennings Cmty. Hosp., Inc., 875 F.2d 1317, 1323 (7th Cir.

  1989) quoting Kaszuba v. Zientara, 506 N.E.2d 1, 2 (Ind. 1987).

          B.      The Arbitration Agreement is Procedurally Unconscionable.
          The entire purpose of Defendants' arbitration agreement is to prevent any remedy from

  being exercised whatsoever by way of evading federal and state law. The agreement is replete with

  false representations which rise to the level of fraud. For example, there is no basis for the


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  application of tribal law to the underlying transaction. The lending operation is run by non-Indians

  off the reservation. Otoe-Missouria., 769 F.3d at 115.

  VII.    THE CLASS ACTION WAIVER IS PART OF THE ARBITRATION
          AGREEMENT AND HAS NO INDEPENDENT FORCE

          In addition to the arbitration agreement, Defendants invoke the class action waiver in the

  arbitration provision, suggesting that it has independent effect. However, the class action waiver is

  part of the arbitration clause. The waiver is premised on the applicability of the arbitration provision.

  On its face, it cannot be invoked by anyone who is not entitled to require arbitration. Since none of

  the Defendants have the right to compel arbitration, it has no effect here. Both the claimed

  arbitration agreement and class action waiver are contrary to public policy and unconscionable, in

  that they have the effect of exculpating a lender engaged in usury from redress for its conduct.

  VIII. CONCLUSION

          For the reasons stated above, Defendants’ motion to compel arbitration should be denied.

                                                           Respectfully submitted,


                                                           /s/Daniel A. Edelman
                                                           Daniel A. Edelman

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                                  CERTIFICATE OF SERVICE

          I, Daniel A. Edelman, hereby certify that on Tuesday, July 11, 2023, I caused a true and

  accurate copy of the foregoing document to be filed via the court’s CM/ECF online system, which

  sent notice via email to all counsel of record.



                                                         /s/Daniel A. Edelman
                                                         Daniel A. Edelman


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